 Fill in this information to identify your case:

 Debtor 1                   Elena Christina Provencher
                            First Name                           Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  DISTRICT OF ARIZONA

 Case number           2:24-bk-03626
 (if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                  amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                 Your assets
                                                                                                                                                                 Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $                      0.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $              27,494.63

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $              27,494.63

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $              38,973.00

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $                      0.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $              70,790.24


                                                                                                                                     Your total liabilities $               109,763.24


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................             $                5,571.10

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $                5,410.78

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

            Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                        page 1 of 2
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
              Case 2:24-bk-03626-EPB                                Doc 11 Filed 05/21/24 Entered 05/21/24 16:06:52                                                        Desc
                                                                    Main Document    Page 1 of 49
 Debtor 1      Elena Christina Provencher                                                 Case number (if known) 2:24-bk-03626

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                          $    7,598.46


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:
       9a. Domestic support obligations (Copy line 6a.)                                                   $              0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $              0.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $              0.00

       9d. Student loans. (Copy line 6f.)                                                                 $              0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $              0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$              0.00


       9g. Total. Add lines 9a through 9f.                                                           $                 0.00




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information           page 2 of 2
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
           Case 2:24-bk-03626-EPB                              Doc 11 Filed 05/21/24 Entered 05/21/24 16:06:52                      Desc
                                                               Main Document    Page 2 of 49
Fill in this information to identify your case and this filing:

Debtor 1                    Elena Christina Provencher
                            First Name               Middle Name                    Last Name

Debtor 2
(Spouse, if filing)         First Name               Middle Name                    Last Name


United States Bankruptcy Court for the:       DISTRICT OF ARIZONA

Case number           2:24-bk-03626                                                                                                             Check if this is an
                                                                                                                                                amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                          12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.
        Yes. Where is the property?



Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1     Make:       Hyundai                           Who has an interest in the property? Check one            Do not deduct secured claims or exemptions. Put
                                                                                                                  the amount of any secured claims on Schedule D:
          Model:      Elantra                              Debtor 1 only                                          Creditors Who Have Claims Secured by Property.
          Year:       2020                                 Debtor 2 only                                          Current value of the      Current value of the
          Approximate mileage:           78,000            Debtor 1 and Debtor 2 only                             entire property?          portion you own?
          Other information:                               At least one of the debtors and another
         Vehicle Valuation: KBB; Private
         Party Sale Value; Good                            Check if this is community property                            $10,366.00                  $10,366.00
         Condition                                          (see instructions)




  3.2     Make:       Hyundai                           Who has an interest in the property? Check one            Do not deduct secured claims or exemptions. Put
                                                                                                                  the amount of any secured claims on Schedule D:
          Model:      Kona                                 Debtor 1 only                                          Creditors Who Have Claims Secured by Property.
          Year:       2019                                 Debtor 2 only                                          Current value of the      Current value of the
          Approximate mileage:           44,000            Debtor 1 and Debtor 2 only                             entire property?          portion you own?
          Other information:                               At least one of the debtors and another
         Vehicle Valuation: KBB; Private
         Party Sale Value; Good                            Check if this is community property                            $11,299.00                  $11,299.00
         Condition                                          (see instructions)




Official Form 106A/B                                                Schedule A/B: Property                                                                    page 1


             Case 2:24-bk-03626-EPB                     Doc 11 Filed 05/21/24 Entered 05/21/24 16:06:52                                            Desc
                                                        Main Document    Page 3 of 49
Debtor 1       Elena Christina Provencher                                                                          Case number (if known)      2:24-bk-03626
4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

     No
     Yes



5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
  .pages you have attached for Part 2. Write that number here.............................................................................=>             $21,665.00


Part 3: Describe Your Personal and Household Items
Do you own or have any legal or equitable interest in any of the following items?                                                                 Current value of the
                                                                                                                                                  portion you own?
                                                                                                                                                  Do not deduct secured
                                                                                                                                                  claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
      Yes. Describe.....

                                   Kitchen Table & Chairs
                                   Dining Room Table & Chairs
                                   Living Room Couch
                                   Living Room Chair
                                   Coffee & End Tables
                                   Lamps
                                   Rugs
                                   Beds
                                   Bed Table
                                   Dressers
                                   Bedding
                                   Bookshelves
                                   Cabinets
                                   Nightstands
                                   Cooking Utensils
                                   Desk(s)
                                   Dishware
                                   Draperies/Window Coverings
                                   DVD Player
                                   DVD(s)
                                   Fire Extinguisher
                                   Flatware
                                   Glassware
                                   Wall Décor
                                   End Tables
                                   Photos or paintings by debtor
                                   TV's (1)
                                   Radio
                                   Stereo
                                   Radio Alarm Clock
                                   Vacuum Cleaner
                                   Couch
                                   Kitchen Hutch
                                   Coffee Table
                                   Microwave
                                   Mirrors
                                   Small Appliances
                                   Paintings, Art, Other decorative items
                                   Patio Furniture
                                   Pots & Pans
                                   Cutlery                                                                                                                     $4,000.00



Official Form 106A/B                                                  Schedule A/B: Property                                                                       page 2


          Case 2:24-bk-03626-EPB                             Doc 11 Filed 05/21/24 Entered 05/21/24 16:06:52                                              Desc
                                                             Main Document    Page 4 of 49
Debtor 1      Elena Christina Provencher                                                            Case number (if known)     2:24-bk-03626
7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
      Yes. Describe.....

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
      No
      Yes. Describe.....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
      No
      Yes. Describe.....

10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
      No
      Yes. Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
      Yes. Describe.....

                               Clothing                                                                                                            $500.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
      Yes. Describe.....

                               Wedding Ring                                                                                                        $500.00


                               Watch (1)                                                                                                           $100.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
      No
      Yes. Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
      No
      Yes. Give specific information.....


15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
    for Part 3. Write that number here ..............................................................................                        $5,100.00


Part 4: Describe Your Financial Assets
Do you own or have any legal or equitable interest in any of the following?                                                        Current value of the
                                                                                                                                   portion you own?
                                                                                                                                   Do not deduct secured
                                                                                                                                   claims or exemptions.




Official Form 106A/B                                         Schedule A/B: Property                                                                   page 3


         Case 2:24-bk-03626-EPB                      Doc 11 Filed 05/21/24 Entered 05/21/24 16:06:52                                        Desc
                                                     Main Document    Page 5 of 49
Debtor 1         Elena Christina Provencher                                                                                 Case number (if known)   2:24-bk-03626
16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
      No
      Yes................................................................................................................

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:


                                            17.1.       Checking                                PayPal                                                                 $0.00


                                                                                                Desert Financial Credit Union
                                            17.2.       Savings                                 Ending In: 9572-0000                                                 $100.00


                                                                                                Desert Financial Credit Union
                                            17.3.       Checking                                Ending In: 9572-0400                                                  $93.37


                                                                                                Arizona Financial Creit Union
                                            17.4.       Checking                                Ending In: 8942-0009                                                   $0.00


                                                                                                Arizona Financial Credit Union
                                            17.5.       Savings                                 Ending In: 8942-0200                                                   $0.00


                                                                                                Arizona Financial Credit Union
                                            17.6.       Checking                                Ending In: 8942-9950                                                   $0.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
      No
      Yes..................                           Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
      No
      Yes. Give specific information about them...................
                                 Name of entity:                                                                             % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
      No
      Yes. Give specific information about them
                                  Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
     No
      Yes. List each account separately.
                              Type of account:                                                  Institution name:

                                            401(k)                                              TransAmerica                                                         $536.26


22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
      No

Official Form 106A/B                                                                     Schedule A/B: Property                                                        page 4


           Case 2:24-bk-03626-EPB                                           Doc 11 Filed 05/21/24 Entered 05/21/24 16:06:52                                   Desc
                                                                            Main Document    Page 6 of 49
Debtor 1        Elena Christina Provencher                                                                  Case number (if known)      2:24-bk-03626

      Yes. .....................                                          Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
      No
      Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
      No
      Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
      No
      Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
      No
      Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
      No
      Yes. Give specific information about them...

Money or property owed to you?                                                                                                             Current value of the
                                                                                                                                           portion you own?
                                                                                                                                           Do not deduct secured
                                                                                                                                           claims or exemptions.

28. Tax refunds owed to you
      No
      Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



                                                       Amounts Attributable to EIC and CTC
                                                          Credits on 2024 tax refund                              Federal                               Unknown


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
      No
      Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
      No
      Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
      No
      Yes. Name the insurance company of each policy and list its value.
                               Company name:                                                       Beneficiary:                             Surrender or refund
                                                                                                                                            value:

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
      No
      Yes. Give specific information..


Official Form 106A/B                                                 Schedule A/B: Property                                                                  page 5


          Case 2:24-bk-03626-EPB                             Doc 11 Filed 05/21/24 Entered 05/21/24 16:06:52                                       Desc
                                                             Main Document    Page 7 of 49
Debtor 1         Elena Christina Provencher                                                                                            Case number (if known)   2:24-bk-03626
33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
       No
       Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
       No
       Yes. Describe each claim.........

35. Any financial assets you did not already list
       No
       Yes. Give specific information..


36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
    for Part 4. Write that number here.....................................................................................................................                 $729.63


Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
      No. Go to Part 6.
      Yes. Go to line 38.



Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
           If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
          No. Go to Part 7.
          Yes. Go to line 47.


Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
       No
       Yes. Give specific information.........


54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                        $0.00

Part 8:         List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2 ......................................................................................................................                      $0.00
56. Part 2: Total vehicles, line 5                                                                           $21,665.00
57. Part 3: Total personal and household items, line 15                                                       $5,100.00
58. Part 4: Total financial assets, line 36                                                                     $729.63
59. Part 5: Total business-related property, line 45                                                              $0.00
60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
61. Part 7: Total other property not listed, line 54                                             +                $0.00

62. Total personal property. Add lines 56 through 61...                                                      $27,494.63              Copy personal property total           $27,494.63

63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                         $27,494.63




Official Form 106A/B                                                              Schedule A/B: Property                                                                           page 6


            Case 2:24-bk-03626-EPB                                     Doc 11 Filed 05/21/24 Entered 05/21/24 16:06:52                                                   Desc
                                                                       Main Document    Page 8 of 49
Fill in this information to identify your case:

Debtor 1                Elena Christina Provencher
                        First Name                   Middle Name                Last Name

Debtor 2
(Spouse if, filing)     First Name                   Middle Name                Last Name


United States Bankruptcy Court for the:        DISTRICT OF ARIZONA

Case number           2:24-bk-03626
(if known)                                                                                                                        Check if this is an
                                                                                                                                  amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                            4/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

Part 1:        Identify the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

          You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

          You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
     Brief description of the property and line on     Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
     Schedule A/B that lists this property             portion you own
                                                       Copy the value from    Check only one box for each exemption.
                                                       Schedule A/B

     Kitchen Table & Chairs                                    $4,000.00                                 $4,000.00     Ariz. Rev. Stat. § 33-1123
     Dining Room Table & Chairs
     Living Room Couch                                                             100% of fair market value, up to
     Living Room Chair                                                             any applicable statutory limit
     Coffee & End Tables
     Lamps
     Rugs
     Beds
     Bed Table
     Dressers
     Bedding
     Bookshelves
     Cabinets
     Nightstands
     Cooking Utensils
     Desk(s)
     Dishware
     Draperies/Window
     Line from Schedule A/B: 6.1

     Clothing                                                      $500.00                                 $500.00     Ariz. Rev. Stat. § 33-1125(1)
     Line from Schedule A/B: 11.1
                                                                                   100% of fair market value, up to
                                                                                   any applicable statutory limit




Official Form 106C                               Schedule C: The Property You Claim as Exempt                                                     page 1 of 2


             Case 2:24-bk-03626-EPB                    Doc 11 Filed 05/21/24 Entered 05/21/24 16:06:52                                      Desc
                                                       Main Document    Page 9 of 49
Debtor 1    Elena Christina Provencher                                                         Case number (if known)     2:24-bk-03626
    Brief description of the property and line on    Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
    Schedule A/B that lists this property            portion you own
                                                     Copy the value from    Check only one box for each exemption.
                                                     Schedule A/B

    Wedding Ring                                               $500.00                                   $500.00        Ariz. Rev. Stat. § 33-1125(4)
    Line from Schedule A/B: 12.1
                                                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    Watch (1)                                                  $100.00                                   $100.00        Ariz. Rev. Stat. § 33-1125(4)
    Line from Schedule A/B: 12.2
                                                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    Savings: Desert Financial Credit                           $100.00                                   $100.00        Ariz. Rev. Stat. § 33-1126(A)(9)
    Union
    Ending In: 9572-0000                                                         100% of fair market value, up to
    Line from Schedule A/B: 17.2                                                 any applicable statutory limit

    401(k): TransAmerica                                       $536.26                                   $536.26        Ariz. Rev. Stat. § 33-1126(B)
    Line from Schedule A/B: 21.1
                                                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    Federal: Amounts Attributable to EIC                    Unknown                                         $0.00       Ariz. Rev. Stat. §
    and CTC Credits on 2024 tax refund                                                                                  33-1126(A)(11)
    Line from Schedule A/B: 28.1                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit


3. Are you claiming a homestead exemption of more than $189,050?
   (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)
           No
           Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                 No
                 Yes




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                                       page 2 of 2


           Case 2:24-bk-03626-EPB                   Doc 11 Filed 05/21/24 Entered 05/21/24 16:06:52                                          Desc
                                                    Main Document    Page 10 of 49
Fill in this information to identify your case:

Debtor 1                   Elena Christina Provencher
                           First Name                      Middle Name                      Last Name

Debtor 2
(Spouse if, filing)        First Name                      Middle Name                      Last Name


United States Bankruptcy Court for the:             DISTRICT OF ARIZONA

Case number           2:24-bk-03626
(if known)                                                                                                                                       Check if this is an
                                                                                                                                                 amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                        12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
          No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
          Yes. Fill in all of the information below.
Part 1:        List All Secured Claims
                                                                                                           Column A               Column B                Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                           value of collateral.   claim                   If any
        Bridgecrest Acceptance
2.1                                                                                                            $22,707.00               $11,299.00           $11,408.00
        Corp                                     Describe the property that secures the claim:
        Creditor's Name                          2019 Hyundai Kona 44,000 miles
        7300 East Hampton                        Vehicle Valuation: KBB; Private
        Avenue                                   Party Sale Value; Good Condition
                                                 As of the date you file, the claim is: Check all that
        Suite 100                                apply.
        Mesa, AZ 85209                               Contingent
        Number, Street, City, State & Zip Code       Unliquidated
                                                     Disputed
Who owes the debt? Check one.                    Nature of lien. Check all that apply.
    Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                      car loan)
    Debtor 2 only
      Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another          Judgment lien from a lawsuit
      Check if this claim relates to a               Other (including a right to offset)
      community debt

                                Opened
                                02/23 Last
                                Active
Date debt was incurred          2/05/24                   Last 4 digits of account number        6601




Official Form 106D                               Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 2


             Case 2:24-bk-03626-EPB                          Doc 11 Filed 05/21/24 Entered 05/21/24 16:06:52                                              Desc
                                                             Main Document    Page 11 of 49
Debtor 1 Elena Christina Provencher                                                                          Case number (if known)   2:24-bk-03626
              First Name                  Middle Name                      Last Name


2.2     Onemain                                    Describe the property that secures the claim:                    $16,266.00           $10,366.00      $5,900.00
        Creditor's Name                            2020 Hyundai Elantra 78,000 miles
                                                   Vehicle Valuation: KBB; Private
                                                   Party Sale Value; Good Condition
                                                   As of the date you file, the claim is: Check all that
        Po Box 1010                                apply.
        Evansville, IN 47706                            Contingent
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
   Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                         car loan)
   Debtor 2 only
      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
   At least one of the debtors and another              Judgment lien from a lawsuit
      Check if this claim relates to a                  Other (including a right to offset)
      community debt

                                Opened
                                10/23 Last
                                Active
Date debt was incurred          2/15/24                     Last 4 digits of account number         8656



  Add the dollar value of your entries in Column A on this page. Write that number here:                                    $38,973.00
  If this is the last page of your form, add the dollar value totals from all pages.
  Write that number here:                                                                                                   $38,973.00

Part 2:     List Others to Be Notified for a Debt That You Already Listed
Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
debts in Part 1, do not fill out or submit this page.




Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 2 of 2


            Case 2:24-bk-03626-EPB                              Doc 11 Filed 05/21/24 Entered 05/21/24 16:06:52                                       Desc
                                                                Main Document    Page 12 of 49
Fill in this information to identify your case:

Debtor 1                     Elena Christina Provencher
                             First Name                    Middle Name                       Last Name

Debtor 2
(Spouse if, filing)          First Name                    Middle Name                       Last Name


United States Bankruptcy Court for the:                DISTRICT OF ARIZONA

Case number           2:24-bk-03626
(if known)                                                                                                                                             Check if this is an
                                                                                                                                                       amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
Part 1:        List All of Your PRIORITY Unsecured Claims
1.    Do any creditors have priority unsecured claims against you?
          No. Go to Part 2.

          Yes.
2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
      identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
      possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
      Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
      (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                      Total claim           Priority           Nonpriority
                                                                                                                                            amount             amount
2.1          Arizona Department Of Revenue                       Last 4 digits of account number                                    $0.00              $0.00                 $0.00
             Priority Creditor's Name
             2005 N Central Ave, Ste 100                         When was the debt incurred?
             Phoenix, AZ 85004
             Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                             Contingent
             Debtor 1 only                                           Unliquidated
             Debtor 2 only                                           Disputed
             Debtor 1 and Debtor 2 only                          Type of PRIORITY unsecured claim:

             At least one of the debtors and another                 Domestic support obligations

             Check if this claim is for a community debt             Taxes and certain other debts you owe the government
       Is the claim subject to offset?                               Claims for death or personal injury while you were intoxicated
             No                                                      Other. Specify
             Yes




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 1 of 11
                                                                                                              53818
             Case 2:24-bk-03626-EPB                          Doc 11 Filed 05/21/24 Entered 05/21/24 16:06:52                                                    Desc
                                                             Main Document    Page 13 of 49
Debtor 1 Elena Christina Provencher                                                                       Case number (if known)            2:24-bk-03626

2.2        Internal Revenue Service                               Last 4 digits of account number                                 $0.00                  $0.00                  $0.00
           Priority Creditor's Name
           Centralized Insolvency Operation                       When was the debt incurred?
           P. O. Box 7346
           Philadelphia, PA 19101-7346
           Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                             Contingent
           Debtor 1 only                                             Unliquidated
           Debtor 2 only                                             Disputed
           Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:

           At least one of the debtors and another                   Domestic support obligations

           Check if this claim is for a community debt               Taxes and certain other debts you owe the government
       Is the claim subject to offset?                               Claims for death or personal injury while you were intoxicated
           No                                                        Other. Specify
           Yes



Part 2:       List All of Your NONPRIORITY Unsecured Claims
3.    Do any creditors have nonpriority unsecured claims against you?

         No. You have nothing to report in this part. Submit this form to the court with your other schedules.

         Yes.

4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
      unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
      than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
      Part 2.
                                                                                                                                                             Total claim

4.1        Affirm, Inc.                                              Last 4 digits of account number                                                                     Unknown
           Nonpriority Creditor's Name
           Attn: Bankruptcy                                          When was the debt incurred?
           650 California Street Floor 12
           San Francisco, CA 94108-2716
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

                Debtor 1 only                                           Contingent
                Debtor 2 only                                           Unliquidated
                Debtor 1 and Debtor 2 only                              Disputed
                At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

                No                                                      Debts to pension or profit-sharing plans, and other similar debts

                Yes                                                     Other. Specify    Unsecured




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                                  Page 2 of 11



           Case 2:24-bk-03626-EPB                             Doc 11 Filed 05/21/24 Entered 05/21/24 16:06:52                                                       Desc
                                                              Main Document    Page 14 of 49
Debtor 1 Elena Christina Provencher                                                              Case number (if known)         2:24-bk-03626

4.2      Amazon                                              Last 4 digits of account number                                                       $621.48
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                    When was the debt incurred?
         410 Terry Ave N.
         Seattle, WA 98109
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Unsecured


4.3      Ascend Loans, LLC                                   Last 4 digits of account number                                                      $5,604.70
         Nonpriority Creditor's Name
         635 East Highway 20, U                              When was the debt incurred?
         Upper Lake, CA 95485
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Unsecured


4.4      Capital One                                         Last 4 digits of account number       0409                                           $6,275.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                                                          Opened 12/14 Last Active
         Po Box 30285                                        When was the debt incurred?           2/19/24
         Salt Lake City, UT 84130
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 3 of 11



          Case 2:24-bk-03626-EPB                       Doc 11 Filed 05/21/24 Entered 05/21/24 16:06:52                                          Desc
                                                       Main Document    Page 15 of 49
Debtor 1 Elena Christina Provencher                                                              Case number (if known)         2:24-bk-03626

4.5      Capital One                                         Last 4 digits of account number       2593                                           $2,896.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                                                          Opened 08/08 Last Active
         Po Box 30285                                        When was the debt incurred?           2/20/24
         Salt Lake City, UT 84130
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card


4.6      Capital One                                         Last 4 digits of account number       0614                                           $2,607.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                                                          Opened 05/12 Last Active
         Po Box 30285                                        When was the debt incurred?           2/20/24
         Salt Lake City, UT 84130
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card


4.7      Chase Card Services                                 Last 4 digits of account number       9657                                           $1,991.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                                                          Opened 11/22 Last Active
         P.O. 15298                                          When was the debt incurred?           2/20/24
         Wilmington, DE 19850
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 4 of 11



          Case 2:24-bk-03626-EPB                       Doc 11 Filed 05/21/24 Entered 05/21/24 16:06:52                                          Desc
                                                       Main Document    Page 16 of 49
Debtor 1 Elena Christina Provencher                                                              Case number (if known)         2:24-bk-03626

4.8      Chase Card Services                                 Last 4 digits of account number       2682                                             $17.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                                                          Opened 12/98 Last Active
         P.O. 15298                                          When was the debt incurred?           1/31/24
         Wilmington, DE 19850
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card


4.9      Chase Card Services                                 Last 4 digits of account number       8306                                                $8.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                                                          Opened 11/12 Last Active
         P.O. 15298                                          When was the debt incurred?           3/04/24
         Wilmington, DE 19850
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card


4.1
0        Clean Air Lending                                   Last 4 digits of account number                                                      $5,604.74
         Nonpriority Creditor's Name
         P.O. Box 1429                                       When was the debt incurred?
         Nice, CA 95464
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Unsecured




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 5 of 11



          Case 2:24-bk-03626-EPB                       Doc 11 Filed 05/21/24 Entered 05/21/24 16:06:52                                          Desc
                                                       Main Document    Page 17 of 49
Debtor 1 Elena Christina Provencher                                                              Case number (if known)         2:24-bk-03626

4.1
1        Comenity/Ikea                                       Last 4 digits of account number       5108                                           $1,043.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                                                          Opened 11/20 Last Active
         Po Box 182125                                       When was the debt incurred?           2/15/24
         Columbus, OH 43218
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card


4.1
2        Credit Collection Services                          Last 4 digits of account number       8825                                            $218.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                                                          Opened 08/20 Last Active
         725 Canton St                                       When was the debt incurred?           07/20
         Norwood, MA 02062
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Collection Attorney Liberty Mutual In. Co.


4.1
3        Discover Financial                                  Last 4 digits of account number       2787                                           $2,427.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                                                          Opened 03/15 Last Active
         Po Box 3025                                         When was the debt incurred?           2/25/24
         New Albany, OH 43054
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 6 of 11



          Case 2:24-bk-03626-EPB                       Doc 11 Filed 05/21/24 Entered 05/21/24 16:06:52                                          Desc
                                                       Main Document    Page 18 of 49
Debtor 1 Elena Christina Provencher                                                              Case number (if known)         2:24-bk-03626

4.1
4        Kohl's                                              Last 4 digits of account number       9284                                           $2,461.00
         Nonpriority Creditor's Name
         Attn: Credit Administrator                                                                Opened 01/14 Last Active
         Po Box 3043                                         When was the debt incurred?           2/22/24
         Milwaukee, WI 53201
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Charge Account


4.1
5        Loan at Last                                        Last 4 digits of account number                                                      Unknown
         Nonpriority Creditor's Name
         PO Box 1193                                         When was the debt incurred?
         Chicago, IL 60601
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Unsecured


4.1
6        Mariner Finance, LLC                                Last 4 digits of account number       4313                                           $2,069.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                                                          Opened 01/24 Last Active
         8211 Town Center Drive                              When was the debt incurred?           2/06/24
         Nottingham, MD 21236
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Secured




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 7 of 11



          Case 2:24-bk-03626-EPB                       Doc 11 Filed 05/21/24 Entered 05/21/24 16:06:52                                          Desc
                                                       Main Document    Page 19 of 49
Debtor 1 Elena Christina Provencher                                                              Case number (if known)         2:24-bk-03626

4.1
7        Netcredit/tab                                       Last 4 digits of account number       7907                                           $4,008.00
         Nonpriority Creditor's Name
                                                                                                   Opened 06/23 Last Active
         175 W Jackson Blvd                                  When was the debt incurred?           2/02/24
         Chicago, IL 60604
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Unsecured


4.1
8        OppLoans                                            Last 4 digits of account number       9910                                           $2,482.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy Dept                                                                     Opened 11/23 Last Active
         130 East Randolph Street Suite                      When was the debt incurred?           1/18/24
         3400
         Chicago, IL 60601
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Unsecured


4.1
9        Syncb/walmart                                       Last 4 digits of account number       7523                                           $4,736.00
         Nonpriority Creditor's Name
                                                                                                   Opened 02/14 Last Active
                                                             When was the debt incurred?           02/24
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Charge Account




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 8 of 11



          Case 2:24-bk-03626-EPB                       Doc 11 Filed 05/21/24 Entered 05/21/24 16:06:52                                          Desc
                                                       Main Document    Page 20 of 49
Debtor 1 Elena Christina Provencher                                                              Case number (if known)         2:24-bk-03626

4.2
0        Synchrony Bank/Gap                                  Last 4 digits of account number       4507                                            $878.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                                                          Opened 04/17 Last Active
         Po Box 965060                                       When was the debt incurred?           2/16/24
         Orlando, FL 32896
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card


4.2
1        Synchrony Bank/Lowes                                Last 4 digits of account number       0969                                             $19.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                                                          Opened 03/15 Last Active
         Po Box 965060                                       When was the debt incurred?           03/24
         Orlando, FL 32896
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Charge Account


4.2
2        Synchrony/PayPal Credit                             Last 4 digits of account number       2013                                           $2,783.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                                                          Opened 08/19 Last Active
         Po Box 965060                                       When was the debt incurred?           3/01/24
         Orlando, FL 32896
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 9 of 11



          Case 2:24-bk-03626-EPB                       Doc 11 Filed 05/21/24 Entered 05/21/24 16:06:52                                          Desc
                                                       Main Document    Page 21 of 49
Debtor 1 Elena Christina Provencher                                                              Case number (if known)         2:24-bk-03626

4.2
3        Upstart Finance                                     Last 4 digits of account number       5055                                          $17,069.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                                                          Opened 01/22 Last Active
         Po Box 1503                                         When was the debt incurred?           2/15/24
         San Carlos, CA 94070
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Unsecured


4.2
4        US Bank/RMS                                         Last 4 digits of account number       5740                                           $3,016.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                                                          Opened 11/17 Last Active
         Po Box 5229                                         When was the debt incurred?           2/13/24
         Cincinnati, OH 45201
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card


4.2
5        W6LS Inc                                            Last 4 digits of account number                                                      $1,548.32
         Nonpriority Creditor's Name
         10600 S Pennsylvania Ave                            When was the debt incurred?
         Suite 16 #828
         Oklahoma City, OK 73170
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Personal Loan




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 10 of 11



          Case 2:24-bk-03626-EPB                       Doc 11 Filed 05/21/24 Entered 05/21/24 16:06:52                                          Desc
                                                       Main Document    Page 22 of 49
Debtor 1 Elena Christina Provencher                                                                      Case number (if known)          2:24-bk-03626

4.2
6         Wells Fargo Bank NA                                      Last 4 digits of account number         6273                                              $408.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 04/05 Last Active
          1 Home Campus Mac X2303-01a 3rd                          When was the debt incurred?             2/15/24
          Floor
          Des Moines, IA 50328
          Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                          report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Credit Card

Part 3:       List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.

Part 4:       Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                           0.00
Total
claims
from Part 1             6b.   Taxes and certain other debts you owe the government                          6b.       $                           0.00
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                           0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                           0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $                           0.00

                                                                                                                                Total Claim
                        6f.   Student loans                                                                 6f.       $                           0.00
Total
claims
from Part 2             6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                         6g.       $                           0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts             6h.       $                           0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount          6i.
                              here.                                                                                   $                      70,790.24

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                   6j.       $                      70,790.24




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 11 of 11



          Case 2:24-bk-03626-EPB                             Doc 11 Filed 05/21/24 Entered 05/21/24 16:06:52                                             Desc
                                                             Main Document    Page 23 of 49
Fill in this information to identify your case:

Debtor 1                  Elena Christina Provencher
                          First Name                         Middle Name            Last Name

Debtor 2
(Spouse if, filing)       First Name                         Middle Name            Last Name


United States Bankruptcy Court for the:               DISTRICT OF ARIZONA

Case number           2:24-bk-03626
(if known)                                                                                                                             Check if this is an
                                                                                                                                       amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                   12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
         No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
             Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
       and unexpired leases.


           Person or company with whom you have the contract or lease                  State what the contract or lease is for
                          Name, Number, Street, City, State and ZIP Code

     2.1      Austin Fleck Property Management                                           Residential Lease
              690 E Warner Road, Suite 153
              Gilbert, AZ 85296




Official Form 106G                                Schedule G: Executory Contracts and Unexpired Leases                                                Page 1 of 1


              Case 2:24-bk-03626-EPB                           Doc 11 Filed 05/21/24 Entered 05/21/24 16:06:52                                  Desc
                                                               Main Document    Page 24 of 49
Fill in this information to identify your case:

Debtor 1                     Elena Christina Provencher
                             First Name                            Middle Name        Last Name

Debtor 2
(Spouse if, filing)          First Name                            Middle Name        Last Name


United States Bankruptcy Court for the:                   DISTRICT OF ARIZONA

Case number             2:24-bk-03626
(if known)                                                                                                                           Check if this is an
                                                                                                                                     amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                           12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

      1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

          No
          Yes

      2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

          No. Go to line 3.
          Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

                      No
                      Yes.


                        In which community state or territory did you live?           -NONE-          . Fill in the name and current address of that person.


                        Name of your spouse, former spouse, or legal equivalent
                        Number, Street, City, State & Zip Code

  3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
     in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
     Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
     out Column 2.

               Column 1: Your codebtor                                                                Column 2: The creditor to whom you owe the debt
               Name, Number, Street, City, State and ZIP Code                                         Check all schedules that apply:

   3.1                                                                                                   Schedule D, line
               Name
                                                                                                         Schedule E/F, line
                                                                                                         Schedule G, line
               Number               Street
               City                                        State                       ZIP Code




   3.2                                                                                                   Schedule D, line
               Name
                                                                                                         Schedule E/F, line
                                                                                                         Schedule G, line
               Number               Street
               City                                        State                       ZIP Code




Official Form 106H                                                                Schedule H: Your Codebtors                                      Page 1 of 1

             Case 2:24-bk-03626-EPB                                  Doc 11 Filed 05/21/24 Entered 05/21/24 16:06:52                          Desc
                                                                     Main Document    Page 25 of 49
Fill in this information to identify your case:

Debtor 1                      Elena Christina Provencher

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       DISTRICT OF ARIZONA

Case number               2:24-bk-03626                                                                 Check if this is:
(If known)
                                                                                                            An amended filing
                                                                                                            A supplement showing postpetition chapter
                                                                                                            13 income as of the following date:

Official Form 106I                                                                                          MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                    Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                    Employed
       attach a separate page with           Employment status
                                                                      Not employed                                Not employed
       information about additional
       employers.
                                             Occupation            Dental Technician
       Include part-time, seasonal, or
       self-employed work.                   Employer's name       Global Dental Science LLC

       Occupation may include student        Employer's address
                                                                   15730 N 83rd Way
       or homemaker, if it applies.
                                                                   Scottsdale, AZ 85260

                                             How long employed there?         5 yrs 8 months

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1          For Debtor 2 or
                                                                                                                            non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.    $         7,713.33        $             N/A

3.     Estimate and list monthly overtime pay.                                              3.   +$              0.00       +$            N/A

4.     Calculate gross Income. Add line 2 + line 3.                                         4.    $      7,713.33               $      N/A




          Case
Official Form 106I 2:24-bk-03626-EPB                 Doc 11 Filed 05/21/24
                                                                Schedule           Entered 05/21/24 16:06:52
                                                                         I: Your Income                                                  Descpage 1
                                                     Main Document     Page 26 of 49
Debtor 1   Elena Christina Provencher                                                            Case number (if known)    2:24-bk-03626


                                                                                                     For Debtor 1          For Debtor 2 or
                                                                                                                           non-filing spouse
     Copy line 4 here                                                                     4.         $      7,713.33       $             N/A

5.   List all payroll deductions:
     5a.   Tax, Medicare, and Social Security deductions                                  5a.        $      1,279.85   $                   N/A
     5b.   Mandatory contributions for retirement plans                                   5b.        $          0.00   $                   N/A
     5c.   Voluntary contributions for retirement plans                                   5c.        $        231.40   $                   N/A
     5d.   Required repayments of retirement fund loans                                   5d.        $          0.00   $                   N/A
     5e.   Insurance                                                                      5e.        $        556.75   $                   N/A
     5f.   Domestic support obligations                                                   5f.        $          0.00   $                   N/A
     5g.   Union dues                                                                     5g.        $          0.00   $                   N/A
     5h.   Other deductions. Specify: Life Insurance                                      5h.+       $         54.71 + $                   N/A
           Short Term Disability                                                                     $         19.52   $                   N/A
6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $          2,142.23       $               N/A
7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $          5,571.10       $               N/A
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                           8a.        $              0.00   $               N/A
     8b. Interest and dividends                                                           8b.        $              0.00   $               N/A
     8c. Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                          8c.        $              0.00   $               N/A
     8d. Unemployment compensation                                                        8d.        $              0.00   $               N/A
     8e. Social Security                                                                  8e.        $              0.00   $               N/A
     8f.    Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                      8f.  $                    0.00   $               N/A
     8g. Pension or retirement income                                                     8g. $                     0.00   $               N/A
     8h. Other monthly income. Specify:                                                   8h.+ $                    0.00 + $               N/A

9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $                  0.00   $                N/A

10. Calculate monthly income. Add line 7 + line 9.                                    10. $              5,571.10 + $            N/A = $          5,571.10
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                  0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                      12.   $          5,571.10
                                                                                                                                       Combined
                                                                                                                                       monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




          Case
Official Form 106I 2:24-bk-03626-EPB              Doc 11 Filed 05/21/24
                                                             Schedule           Entered 05/21/24 16:06:52
                                                                      I: Your Income                                                       Descpage 2
                                                  Main Document     Page 27 of 49
Fill in this information to identify your case:

Debtor 1                 Elena Christina Provencher                                                        Check if this is:
                                                                                                               An amended filing
Debtor 2                                                                                                       A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   DISTRICT OF ARIZONA                                                        MM / DD / YYYY

Case number           2:24-bk-03626
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.
                                                   Fill out this information for   Dependent’s relationship to          Dependent’s     Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age             live with you?

      Do not state the                                                                                                                       No
      dependents names.                                                            Daughter                             17                   Yes
                                                                                                                                             No
                                                                                   Son                                  24                   Yes
                                                                                                                                             No
                                                                                                                                             Yes
                                                                                                                                             No
                                                                                                                                             Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                        Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                             1,875.78

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                                 0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                                 0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                                 0.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                                 0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                                 0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                            page 1
        Case 2:24-bk-03626-EPB                        Doc 11 Filed 05/21/24 Entered 05/21/24 16:06:52                                             Desc
                                                      Main Document    Page 28 of 49
Debtor 1     Elena Christina Provencher                                                                Case number (if known)      2:24-bk-03626

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                250.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                150.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                170.00
      6d. Other. Specify:                                                                    6d. $                                                  0.00
7.    Food and housekeeping supplies                                                           7. $                                             1,000.00
8.    Childcare and children’s education costs                                                 8. $                                                 0.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                                50.00
10.   Personal care products and services                                                    10. $                                                  0.00
11.   Medical and dental expenses                                                            11. $                                                  0.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 300.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                 200.00
14.   Charitable contributions and religious donations                                       14. $                                                   0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                    0.00
      15b. Health insurance                                                                15b. $                                                    0.00
      15c. Vehicle insurance                                                               15c. $                                                  433.00
      15d. Other insurance. Specify:                                                       15d. $                                                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                  480.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                  502.00
      17c. Other. Specify:                                                                 17c. $                                                    0.00
      17d. Other. Specify:                                                                 17d. $                                                    0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                     0.00
      20b. Real estate taxes                                                               20b. $                                                     0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                     0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                     0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                     0.00
21.   Other: Specify:                                                                        21. +$                                                   0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                       5,410.78
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                       5,410.78
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               5,571.10
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              5,410.78

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                                 160.32

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
       Case 2:24-bk-03626-EPB                         Doc 11 Filed 05/21/24 Entered 05/21/24 16:06:52                                                Desc
                                                      Main Document    Page 29 of 49
Fill in this information to identify your case:

Debtor 1                    Elena Christina Provencher
                            First Name            Middle Name              Last Name

Debtor 2
(Spouse if, filing)         First Name            Middle Name              Last Name


United States Bankruptcy Court for the:      DISTRICT OF ARIZONA

Case number              2:24-bk-03626
(if known)                                                                                                                   Check if this is an
                                                                                                                             amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                 12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                      Sign Below


       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

               No

               Yes. Name of person                                                                     Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                       Declaration, and Signature (Official Form 119)


      Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
      that they are true and correct.

       X /s/ Elena Christina Provencher                                    X
             Elena Christina Provencher                                        Signature of Debtor 2
             Signature of Debtor 1

             Date       May 21, 2024                                           Date




Official Form 106Dec                              Declaration About an Individual Debtor's Schedules




             Case 2:24-bk-03626-EPB                 Doc 11 Filed 05/21/24 Entered 05/21/24 16:06:52                                   Desc
                                                    Main Document    Page 30 of 49
Fill in this information to identify your case:

Debtor 1                  Elena Christina Provencher
                          First Name                  Middle Name                   Last Name

Debtor 2
(Spouse if, filing)       First Name                  Middle Name                   Last Name


United States Bankruptcy Court for the:          DISTRICT OF ARIZONA

Case number           2:24-bk-03626
(if known)                                                                                                                            Check if this is an
                                                                                                                                      amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                        04/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.    What is your current marital status?

              Married
              Not married

2.    During the last 3 years, have you lived anywhere other than where you live now?

              No
              Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

       Debtor 1:                                          Dates Debtor 1               Debtor 2 Prior Address:                            Dates Debtor 2
                                                          lived there                                                                     lived there
       5150 S Inspirian Pkwy                              From-To:                         Same as Debtor 1                                  Same as Debtor 1
       Unit 1043                                          2021-2024                                                                       From-To:
       Mesa, AZ 85212


3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

              No
              Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

Part 2         Explain the Sources of Your Income

4.    Did you have any income from employment or from operating a business during this year or the two previous calendar years?
      Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
      If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

              No
              Yes. Fill in the details.

                                               Debtor 1                                                       Debtor 2
                                               Sources of income               Gross income                   Sources of income           Gross income
                                               Check all that apply.           (before deductions and         Check all that apply.       (before deductions
                                                                               exclusions)                                                and exclusions)




Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 1


             Case 2:24-bk-03626-EPB                     Doc 11 Filed 05/21/24 Entered 05/21/24 16:06:52                                        Desc
                                                        Main Document    Page 31 of 49
Debtor 1     Elena Christina Provencher                                                                Case number (if known)   2:24-bk-03626


                                                Debtor 1                                                       Debtor 2
                                                Sources of income               Gross income                   Sources of income            Gross income
                                                Check all that apply.           (before deductions and         Check all that apply.        (before deductions
                                                                                exclusions)                                                 and exclusions)

From January 1 of current year until               Wages, commissions,                      $31,744.62           Wages, commissions,
the date you filed for bankruptcy:                                                                             bonuses, tips
                                                bonuses, tips

                                                   Operating a business                                           Operating a business


For last calendar year:                            Wages, commissions,                      $75,004.00           Wages, commissions,
(January 1 to December 31, 2023 )                                                                              bonuses, tips
                                                bonuses, tips
                                                   Operating a business                                           Operating a business


For the calendar year before that:                 Wages, commissions,                      $60,355.00           Wages, commissions,
(January 1 to December 31, 2022 )                                                                              bonuses, tips
                                                bonuses, tips

                                                   Operating a business                                           Operating a business


5.   Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
     and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
     winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
           Yes. Fill in the details.

                                                Debtor 1                                                       Debtor 2
                                                Sources of income               Gross income from              Sources of income            Gross income
                                                Describe below.                 each source                    Describe below.              (before deductions
                                                                                (before deductions and                                      and exclusions)
                                                                                exclusions)

Part 3:     List Certain Payments You Made Before You Filed for Bankruptcy

6.   Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
          No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?
                        No.     Go to line 7.
                        Yes     List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the total amount you
                                paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                not include payments to an attorney for this bankruptcy case.
                    * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.

           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                        No.     Go to line 7.
                        Yes     List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                attorney for this bankruptcy case.


      Creditor's Name and Address                          Dates of payment              Total amount          Amount you       Was this payment for ...
                                                                                                 paid            still owe




Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 2


          Case 2:24-bk-03626-EPB                         Doc 11 Filed 05/21/24 Entered 05/21/24 16:06:52                                        Desc
                                                         Main Document    Page 32 of 49
Debtor 1     Elena Christina Provencher                                                                  Case number (if known)    2:24-bk-03626


7.   Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
     of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
     a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
     alimony.

           No
           Yes. List all payments to an insider.
      Insider's Name and Address                             Dates of payment              Total amount          Amount you        Reason for this payment
                                                                                                   paid            still owe

8.   Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
     insider?
     Include payments on debts guaranteed or cosigned by an insider.

           No
           Yes. List all payments to an insider
      Insider's Name and Address                             Dates of payment              Total amount          Amount you        Reason for this payment
                                                                                                   paid            still owe       Include creditor's name

Part 4:     Identify Legal Actions, Repossessions, and Foreclosures

9.   Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
     modifications, and contract disputes.

           No
           Yes. Fill in the details.
      Case title                                             Nature of the case           Court or agency                          Status of the case
      Case number

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

           No. Go to line 11.
           Yes. Fill in the information below.
      Creditor Name and Address                              Describe the Property                                          Date                        Value of the
                                                                                                                                                           property
                                                             Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
           No
           Yes. Fill in the details.
      Creditor Name and Address                              Describe the action the creditor took                          Date action was                Amount
                                                                                                                            taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

           No
           Yes

Part 5:     List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
           No
           Yes. Fill in the details for each gift.
      Gifts with a total value of more than $600                   Describe the gifts                                       Dates you gave                    Value
      per person                                                                                                            the gifts

      Person to Whom You Gave the Gift and
      Address:


Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 3


          Case 2:24-bk-03626-EPB                           Doc 11 Filed 05/21/24 Entered 05/21/24 16:06:52                                         Desc
                                                           Main Document    Page 33 of 49
Debtor 1     Elena Christina Provencher                                                              Case number (if known)    2:24-bk-03626


14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
           No
           Yes. Fill in the details for each gift or contribution.
      Gifts or contributions to charities that total            Describe what you contributed                           Dates you                     Value
      more than $600                                                                                                    contributed
      Charity's Name
      Address (Number, Street, City, State and ZIP Code)

Part 6:     List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

           No
           Yes. Fill in the details.
      Describe the property you lost and              Describe any insurance coverage for the loss                      Date of your       Value of property
      how the loss occurred                                                                                             loss                            lost
                                                      Include the amount that insurance has paid. List pending
                                                      insurance claims on line 33 of Schedule A/B: Property.

Part 7:     List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

           No
           Yes. Fill in the details.
      Person Who Was Paid                                       Description and value of any property                   Date payment             Amount of
      Address                                                   transferred                                             or transfer was           payment
      Email or website address                                                                                          made
      Person Who Made the Payment, if Not You
      Goodman Law Practice PLC d/b/a Rock                       Filing Fee $338                                         03/18/2024                 $610.00
      Law                                                       Attorney Fees $272
      PO Box 28365
      Tempe, AZ 85285-8365
      Jacob@rocklawaz.com


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

           No
           Yes. Fill in the details.
      Person Who Was Paid                                       Description and value of any property                   Date payment             Amount of
      Address                                                   transferred                                             or transfer was           payment
                                                                                                                        made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
           No
           Yes. Fill in the details.
      Person Who Received Transfer                              Description and value of                  Describe any property or        Date transfer was
      Address                                                   property transferred                      payments received or debts      made
                                                                                                          paid in exchange
      Person's relationship to you




Official Form 107                                Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 4


          Case 2:24-bk-03626-EPB                        Doc 11 Filed 05/21/24 Entered 05/21/24 16:06:52                                        Desc
                                                        Main Document    Page 34 of 49
Debtor 1      Elena Christina Provencher                                                                  Case number (if known)   2:24-bk-03626


19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
           No
           Yes. Fill in the details.
      Name of trust                                                Description and value of the property transferred                         Date Transfer was
                                                                                                                                             made

Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
           No
           Yes. Fill in the details.
      Name of Financial Institution and                      Last 4 digits of               Type of account or        Date account was            Last balance
      Address (Number, Street, City, State and ZIP           account number                 instrument                closed, sold,           before closing or
      Code)                                                                                                           moved, or                        transfer
                                                                                                                      transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

           No
           Yes. Fill in the details.
      Name of Financial Institution                                Who else had access to it?             Describe the contents                Do you still
      Address (Number, Street, City, State and ZIP Code)           Address (Number, Street, City,                                              have it?
                                                                   State and ZIP Code)


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

           No
           Yes. Fill in the details.
      Name of Storage Facility                                     Who else has or had access             Describe the contents                Do you still
      Address (Number, Street, City, State and ZIP Code)           to it?                                                                      have it?
                                                                   Address (Number, Street, City,
                                                                   State and ZIP Code)

Part 9:       Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

           No
           Yes. Fill in the details.
      Owner's Name                                                 Where is the property?                 Describe the property                           Value
      Address (Number, Street, City, State and ZIP Code)           (Number, Street, City, State and ZIP
                                                                   Code)

Part 10:      Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

     Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
     toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
     regulations controlling the cleanup of these substances, wastes, or material.
     Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
     to own, operate, or utilize it, including disposal sites.
     Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
     hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 5


           Case 2:24-bk-03626-EPB                          Doc 11 Filed 05/21/24 Entered 05/21/24 16:06:52                                         Desc
                                                           Main Document    Page 35 of 49
Debtor 1     Elena Christina Provencher                                                                     Case number (if known)   2:24-bk-03626


24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

           No
           Yes. Fill in the details.
      Name of site                                               Governmental unit                             Environmental law, if you         Date of notice
      Address (Number, Street, City, State and ZIP Code)         Address (Number, Street, City, State and      know it
                                                                 ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

           No
           Yes. Fill in the details.
      Name of site                                               Governmental unit                             Environmental law, if you         Date of notice
      Address (Number, Street, City, State and ZIP Code)         Address (Number, Street, City, State and      know it
                                                                 ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No
           Yes. Fill in the details.
      Case Title                                                 Court or agency                            Nature of the case                   Status of the
      Case Number                                                Name                                                                            case
                                                                 Address (Number, Street, City,
                                                                 State and ZIP Code)

Part 11:    Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
               A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

               A member of a limited liability company (LLC) or limited liability partnership (LLP)

               A partner in a partnership

               An officer, director, or managing executive of a corporation

               An owner of at least 5% of the voting or equity securities of a corporation

           No. None of the above applies. Go to Part 12.
           Yes. Check all that apply above and fill in the details below for each business.
      Business Name                                         Describe the nature of the business                  Employer Identification number
      Address                                                                                                    Do not include Social Security number or ITIN.
      (Number, Street, City, State and ZIP Code)            Name of accountant or bookkeeper
                                                                                                                 Dates business existed

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

           No
           Yes. Fill in the details below.
      Name                                                  Date Issued
      Address
      (Number, Street, City, State and ZIP Code)




Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 6


           Case 2:24-bk-03626-EPB                          Doc 11 Filed 05/21/24 Entered 05/21/24 16:06:52                                           Desc
                                                           Main Document    Page 36 of 49
Debtor 1     Elena Christina Provencher                                                       Case number (if known)   2:24-bk-03626


Part 12:    Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

/s/ Elena Christina Provencher
Elena Christina Provencher                                  Signature of Debtor 2
Signature of Debtor 1

Date     May 21, 2024                                       Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person        . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




Official Form 107                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                                page 7


           Case 2:24-bk-03626-EPB                Doc 11 Filed 05/21/24 Entered 05/21/24 16:06:52                                       Desc
                                                 Main Document    Page 37 of 49
Fill in this information to identify your case:

Debtor 1                 Elena Christina Provencher
                         First Name               Middle Name                Last Name

Debtor 2
(Spouse if, filing)      First Name               Middle Name                Last Name


United States Bankruptcy Court for the:     DISTRICT OF ARIZONA

Case number           2:24-bk-03626
(if known)                                                                                                                 Check if this is an
                                                                                                                           amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                              12/15


If you are an individual filing under chapter 7, you must fill out this form if:
   creditors have claims secured by your property, or
  you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?



   Creditor's         Bridgecrest Acceptance Corp                  Surrender the property.                               No
   name:                                                           Retain the property and redeem it.
                                                                   Retain the property and enter into a                  Yes
   Description of 2019 Hyundai Kona 44,000                         Reaffirmation Agreement.
   property       miles                                            Retain the property and [explain]:
   securing debt: Vehicle Valuation: KBB; Private
                  Party Sale Value; Good
                  Condition


   Creditor's         Onemain                                      Surrender the property.                               No
   name:                                                           Retain the property and redeem it.
                                                                   Retain the property and enter into a                  Yes
   Description of       2020 Hyundai Elantra 78,000                Reaffirmation Agreement.
   property             miles                                      Retain the property and [explain]:
   securing debt:       Vehicle Valuation: KBB; Private
                        Party Sale Value; Good
                        Condition

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.


Official Form 108                            Statement of Intention for Individuals Filing Under Chapter 7                                       page 1




             Case 2:24-bk-03626-EPB                 Doc 11 Filed 05/21/24 Entered 05/21/24 16:06:52                                 Desc
                                                    Main Document    Page 38 of 49
Debtor 1     Elena Christina Provencher                                                 Case number (if known)    2:24-bk-03626

You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

Describe your unexpired personal property leases                                                                 Will the lease be assumed?

Lessor's name:           Austin Fleck Property Management                                                           No

                                                                                                                    Yes

Description of leased    Residential Lease
Property:



Part 3:     Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

X    /s/ Elena Christina Provencher                                    X
     Elena Christina Provencher                                            Signature of Debtor 2
     Signature of Debtor 1

     Date        May 21, 2024                                          Date




Official Form 108                          Statement of Intention for Individuals Filing Under Chapter 7                                  page 2




          Case 2:24-bk-03626-EPB                Doc 11 Filed 05/21/24 Entered 05/21/24 16:06:52                                   Desc
                                                Main Document    Page 39 of 49
Fill in this information to identify your case:                                                   Check one box only as directed in this form and in Form
                                                                                                  122A-1Supp:
Debtor 1              Elena Christina Provencher
Debtor 2                                                                                                  1. There is no presumption of abuse
(Spouse, if filing)

United States Bankruptcy Court for the:        District of Arizona                                        2. The calculation to determine if a presumption of abuse
                                                                                                              applies will be made under Chapter 7 Means Test
                                                                                                              Calculation (Official Form 122A-2).
Case number           2:24-bk-03626
(if known)                                                                                                3. The Means Test does not apply now because of
                                                                                                              qualified military service but it could apply later.
                                                                                                          Check if this is an amended filing
Official Form 122A - 1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                   12/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed,
attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and
case number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of
qualifying military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

Part 1:           Calculate Your Current Monthly Income

  1. What is your marital and filing status? Check one only.
             Not married. Fill out Column A, lines 2-11.
             Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
             Married and your spouse is NOT filing with you. You and your spouse are:
                Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
                Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
                penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are
                living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).
   Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
   101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during
   the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both
   spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                      Column A                   Column B
                                                                                                      Debtor 1                   Debtor 2 or
                                                                                                                                 non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions).                                                               $                        7,598.46        $
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                             $                              0.00      $
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Include regular contributions from a spouse only if Column B is not
     filled in. Do not include payments you listed on line 3.                           $                              0.00      $
  5. Net income from operating a business, profession, or farm
                                                                       Debtor 1
       Gross receipts (before all deductions)                         $      0.00
       Ordinary and necessary operating expenses                     -$      0.00
       Net monthly income from a business, profession, or farm $             0.00 Copy here -> $                       0.00      $
  6. Net income from rental and other real property
                                                                                Debtor 1
       Gross receipts (before all deductions)                         $      0.00
       Ordinary and necessary operating expenses                     -$      0.00
       Net monthly income from rental or other real property         $       0.00 Copy here -> $                       0.00      $
                                                                                                      $                0.00      $
  7. Interest, dividends, and royalties




Official Form 122A-1                                Chapter 7 Statement of Your Current Monthly Income                                                         page 1

             Case 2:24-bk-03626-EPB                     Doc 11 Filed 05/21/24 Entered 05/21/24 16:06:52                                                Desc
                                                        Main Document    Page 40 of 49
Debtor 1     Elena Christina Provencher                                                              Case number (if known)   2:24-bk-03626


                                                                                                 Column A                     Column B
                                                                                                 Debtor 1                     Debtor 2 or
                                                                                                                              non-filing spouse
  8. Unemployment compensation                                                                   $                  0.00      $
      Do not enter the amount if you contend that the amount received was a benefit under
      the Social Security Act. Instead, list it here:
         For you                                          $                    0.00
           For your spouse                                     $
  9. Pension or retirement income. Do not include any amount received that was a
      benefit under the Social Security Act. Also, except as stated in the next sentence, do
      not include any compensation, pension, pay, annuity, or allowance paid by the
      United States Government in connection with a disability, combat-related injury or
      disability, or death of a member of the uniformed services. If you received any retired
      pay paid under chapter 61 of title 10, then include that pay only to the extent that it
      does not exceed the amount of retired pay to which you would otherwise be entitled
      if retired under any provision of title 10 other than chapter 61 of that title.         $                     0.00      $
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act; payments
      received as a victim of a war crime, a crime against humanity, or international or
      domestic terrorism; or compensation pension, pay, annuity, or allowance paid by the
      United States Government in connection with a disability, combat-related injury or
      disability, or death of a member of the uniformed services. If necessary, list other
      sources on a separate page and put the total below..
               .                                                                              $                     0.00      $
                                                                                                 $                  0.00      $
                Total amounts from separate pages, if any.                                  +    $                  0.00      $

  11. Calculate your total current monthly income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.           $       7,598.46          +$                      =$         7,598.46

                                                                                                                                              Total current monthly
                                                                                                                                              income

Part 2:        Determine Whether the Means Test Applies to You

  12. Calculate your current monthly income for the year. Follow these steps:
      12a. Copy your total current monthly income from line 11                                             Copy line 11 here=>            $          7,598.46

             Multiply by 12 (the number of months in a year)                                                                                   x 12
      12b. The result is your annual income for this part of the form                                                               12b. $         91,181.52

  13. Calculate the median family income that applies to you. Follow these steps:

      Fill in the state in which you live.                              AZ

      Fill in the number of people in your household.                    3
      Fill in the median family income for your state and size of household.                                                        13.   $        94,526.00
      To find a list of applicable median income amounts, go online using the link specified in the separate instructions
      for this form. This list may also be available at the bankruptcy clerk’s office.
  14. How do the lines compare?
      14a.          Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                    Go to Part 3. Do NOT fill out or file Official Form 122A-2.
      14b.          Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                    Go to Part 3 and fill out Form 122A–2.
Part 3:        Sign Below
             By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

            X /s/ Elena Christina Provencher
               Elena Christina Provencher
               Signature of Debtor 1

Official Form 122A-1                              Chapter 7 Statement of Your Current Monthly Income                                                         page 2


           Case 2:24-bk-03626-EPB                     Doc 11 Filed 05/21/24 Entered 05/21/24 16:06:52                                              Desc
                                                      Main Document    Page 41 of 49
Debtor 1   Elena Christina Provencher                                                     Case number (if known)   2:24-bk-03626
       Date May 21, 2024
            MM / DD / YYYY
           If you checked line 14a, do NOT fill out or file Form 122A-2.
           If you checked line 14b, fill out Form 122A-2 and file it with this form.




Official Form 122A-1                              Chapter 7 Statement of Your Current Monthly Income                                  page 3


           Case 2:24-bk-03626-EPB                    Doc 11 Filed 05/21/24 Entered 05/21/24 16:06:52                               Desc
                                                     Main Document    Page 42 of 49
Debtor 1   Elena Christina Provencher                                           Case number (if known)   2:24-bk-03626


                                   Current Monthly Income Details for the Debtor

Debtor Income Details:
Income for the Period 11/01/2023 to 04/30/2024.

Line 2 - Gross wages, salary, tips, bonuses, overtime, commissions
Source of Income: Global Dental Science LLC
Year-to-Date Income:
Last Year:
Starting Year-to-Date Income: $69,241.90 from check dated 10/26/2023 .
Ending Year-to-Date Income: $83,088.06 from check dated 12/21/2023 .

This Year:
Current Year-to-Date Income: $31,744.62 from check dated       4/25/2024    .

Income for six-month period (Current+(Ending-Starting)): $45,590.78 .
Average Monthly Income: $7,598.46 .




Official Form 122A-1                    Chapter 7 Statement of Your Current Monthly Income                                  page 4


           Case 2:24-bk-03626-EPB          Doc 11 Filed 05/21/24 Entered 05/21/24 16:06:52                               Desc
                                           Main Document    Page 43 of 49
Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:         Liquidation
This notice is for you if:
                                                                                                  $245      filing fee
       You are an individual filing for bankruptcy,
       and                                                                                         $78   administrative fee

       Your debts are primarily consumer debts.                                           +        $15   trustee surcharge
       Consumer debts are defined in 11 U.S.C.
       § 101(8) as “incurred by an individual                                                     $338      total fee
       primarily for a personal, family, or
       household purpose.”                                                                Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their non-exempt
The types of bankruptcy that are available to                                             property to be used to pay their creditors. The
individuals                                                                               primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
Individuals who meet the qualifications may file under                                    relieves you after bankruptcy from having to pay
one of four different chapters of Bankruptcy Code:                                        many of your pre-bankruptcy debts. Exceptions exist
                                                                                          for particular debts, and liens on property may still
       Chapter 7 - Liquidation                                                            be enforced after discharge. For example, a creditor
                                                                                          may have the right to foreclose a home mortgage or
       Chapter 11 - Reorganization                                                        repossess an automobile.

       Chapter 12 - Voluntary repayment plan                                              However, if the court finds that you have committed
                  for family farmers or                                                   certain kinds of improper conduct described in the
                  fishermen                                                               Bankruptcy Code, the court may deny your
                                                                                          discharge.
       Chapter 13 - Voluntary repayment plan
                  for individuals with regular                                            You should know that even if you file chapter 7 and
                  income                                                                  you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
You should have an attorney review your
decision to file for bankruptcy and the choice of                                             most taxes;
chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                   page 1


          Case 2:24-bk-03626-EPB                      Doc 11 Filed 05/21/24 Entered 05/21/24 16:06:52                            Desc
                                                      Main Document    Page 44 of 49
       most fines, penalties, forfeitures, and criminal                                   your income is more than the median income for your
       restitution obligations; and                                                       state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
       certain debts that are not listed in your bankruptcy                               administrator, or creditors can file a motion to dismiss
       papers.                                                                            your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
You may also be required to pay debts arising from:                                       be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
       fraud or theft;                                                                    Code.

       fraud or defalcation while acting in breach of                                     If you are an individual filing for chapter 7 bankruptcy,
       fiduciary capacity;                                                                the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
       intentional injuries that you inflicted; and                                       of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
       death or personal injury caused by operating a                                     bankruptcy trustee sells or liquidates that you are
       motor vehicle, vessel, or aircraft while intoxicated                               entitled to, is called exempt property. Exemptions may
       from alcohol or drugs.                                                             enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
If your debts are primarily consumer debts, the court                                     the property is sold.
can dismiss your chapter 7 case if it finds that you have
enough income to repay creditors a certain amount.                                        Exemptions are not automatic. To exempt property,
You must file Chapter 7 Statement of Your Current                                         you must list it on Schedule C: The Property You Claim
Monthly Income (Official Form 122A–1) if you are an                                       as Exempt (Official Form 106C). If you do not list the
individual filing for bankruptcy under chapter 7. This                                    property, the trustee may sell it and pay all of the
form will determine your current monthly income and                                       proceeds to your creditors.
compare whether your income is more than the median
income that applies in your state.

If your income is not above the median for your state,
you will not have to complete the other chapter 7 form,                                   Chapter 11: Reorganization
the Chapter 7 Means Test Calculation (Official Form
122A–2).
                                                                                                      $1,167    filing fee
If your income is above the median for your state, you
must file a second form —the Chapter 7 Means Test                                            +           $571    administrative fee
Calculation (Official Form 122A–2). The calculations on
                                                                                                      $1,738    total fee
the form— sometimes called the Means Test—deduct
from your income living expenses and payments on
                                                                                          Chapter 11 is often used for reorganizing a business,
certain debts to determine any amount available to pay
                                                                                          but is also available to individuals. The provisions of
unsecured creditors. If
                                                                                          chapter 11 are too complicated to summarize briefly.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                         page 2


          Case 2:24-bk-03626-EPB                      Doc 11 Filed 05/21/24 Entered 05/21/24 16:06:52                                  Desc
                                                      Main Document    Page 45 of 49
       Read These Important Warnings

           Because bankruptcy can have serious long-term financial and legal consequences, including loss of
           your property, you should hire an attorney and carefully consider all of your options before you file.
           Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
           and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
           properly and protect you, your family, your home, and your possessions.

           Although the law allows you to represent yourself in bankruptcy court, you should understand that
           many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
           or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
           following all of the legal requirements.

           You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
           necessary documents.

           Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
           bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
           fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
           20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan
Chapter 12: Repayment plan for family                                                     to repay your creditors all or part of the money that
            farmers or fishermen                                                          you owe them, usually using your future earnings. If
                                                                                          the court approves your plan, the court will allow you
                                                                                          to repay your debts, as adjusted by the plan, within 3
                 $200     filing fee                                                      years or 5 years, depending on your income and other
+                 $78     administrative fee                                              factors.
                 $278     total fee
                                                                                          After you make all the payments under your plan,
Similar to chapter 13, chapter 12 permits family farmers                                  many of your debts are discharged. The debts that are
and fishermen to repay their debts over a period of time                                  not discharged and that you may still be responsible to
using future earnings and to discharge some debts that                                    pay include:
are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
Chapter 13: Repayment plan for
            individuals with regular                                                             certain taxes,
            income
                                                                                                 debts for fraud or theft,

                 $235     filing fee                                                             debts for fraud or defalcation while acting in a
+                 $78     administrative fee                                                     fiduciary capacity,
                 $313     total fee
                                                                                                 most criminal fines and restitution obligations,
Chapter 13 is for individuals who have regular income
and would like to pay all or part of their debts in                                              certain debts that are not listed in your
installments over a period of time and to discharge                                              bankruptcy papers,
some debts that are not paid. You are eligible for
chapter 13 only if your debts are not more than certain                                          certain debts for acts that caused death or
dollar amounts set forth in 11 U.S.C. § 109.                                                     personal injury, and

                                                                                                 certain long-term secured debts.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                        page 3


          Case 2:24-bk-03626-EPB                      Doc 11 Filed 05/21/24 Entered 05/21/24 16:06:52                                Desc
                                                      Main Document    Page 46 of 49
                                                                                          A married couple may file a bankruptcy case
             Warning: File Your Forms on Time                                             together—called a joint case. If you file a joint case and
                                                                                          each spouse lists the same mailing address on the
Section 521(a)(1) of the Bankruptcy Code requires that                                    bankruptcy petition, the bankruptcy court generally will
you promptly file detailed information about your                                         mail you and your spouse one copy of each notice,
creditors, assets, liabilities, income, expenses and                                      unless you file a statement with the court asking that
general financial condition. The court may dismiss your                                   each spouse receive separate copies.
bankruptcy case if you do not file this information within
the deadlines set by the Bankruptcy Code, the                                             Understand which services you could receive from
Bankruptcy Rules, and the local rules of the court.                                       credit counseling agencies

For more information about the documents and                                              The law generally requires that you receive a credit
their deadlines, go to:                                                                   counseling briefing from an approved credit counseling
http://www.uscourts.gov/forms/bankruptcy-forms                                            agency. 11 U.S.C. § 109(h). If you are filing a joint
                                                                                          case, both spouses must receive the briefing. With
                                                                                          limited exceptions, you must receive it within the 180
Bankruptcy crimes have serious consequences                                               days before you file your bankruptcy petition. This
                                                                                          briefing is usually conducted by telephone or on the
       If you knowingly and fraudulently conceal assets                                   Internet.
       or make a false oath or statement under penalty
       of perjury—either orally or in writing—in                                          In addition, after filing a bankruptcy case, you generally
       connection with a bankruptcy case, you may be                                      must complete a financial management instructional
       fined, imprisoned, or both.                                                        course before you can receive a discharge. If you are
                                                                                          filing a joint case, both spouses must complete the
       All information you supply in connection with a                                    course.
       bankruptcy case is subject to examination by the
       Attorney General acting through the Office of the                                  You can obtain the list of agencies approved to provide
       U.S. Trustee, the Office of the U.S. Attorney, and                                 both the briefing and the instructional course from:
       other offices and employees of the U.S.                                            http://www.uscourts.gov/services-forms/bankruptcy/cre
       Department of Justice.                                                             dit-counseling-and-debtor-education-courses.

Make sure the court has your mailing address                                              In Alabama and North Carolina, go to:
                                                                                          http://www.uscourts.gov/services-forms/bankruptcy/cre
The bankruptcy court sends notices to the mailing                                         dit-counseling-and-debtor-education-courses.
address you list on Voluntary Petition for Individuals
Filing for Bankruptcy (Official Form 101). To ensure                                      If you do not have access to a computer, the clerk of
that you receive information about your case,                                             the bankruptcy court may be able to help you obtain
Bankruptcy Rule 4002 requires that you notify the court                                   the list.
of any changes in your address.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                       page 4


          Case 2:24-bk-03626-EPB                      Doc 11 Filed 05/21/24 Entered 05/21/24 16:06:52                                Desc
                                                      Main Document    Page 47 of 49
B2030 (Form 2030) (12/15)
                                              United States Bankruptcy Court
                                                            District of Arizona
 In re   Elena Christina Provencher                                                                  Case No.     2:24-bk-03626
                                                                       Debtor(s)                     Chapter      7

                    DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
     compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services
     rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
          For legal services, the debtor(s) has agreed to pay                                    $                  2950.00
          Prior to the filing of this statement I have received                                  $                   350.00
          Balance Due                                                                            $                  2600.00

2.   The source of the compensation paid to me was:
              Debtor            Other (specify):

3.   The source of compensation to be paid to me is:
              Debtor            Other (specify):

4.       I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates
         of my law firm.

         I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my
         law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.    In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
        bankruptcy;
     b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
     d. [Other provisions as needed]
             Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
             reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
             522(f)(2)(A) for avoidance of liens on household goods.

6.   By agreement with the debtor(s), the above-disclosed fee does not include the following service:
            Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
            any other adversary proceeding.
7. The Fees described above include the filing fee.
8. Counsel offered debtor(s) two options for the payment of counsel's fees: (1) pre-pay the fees in full prior to the Chapter 7 bankruptcy
petition being filed, or (2) bifurcate the attorney services into pre- and post-petition work in order to facilitate the debtor(s) obtaining the
benefit of being filed right away and making payments post-petition for the post-petition work. Counsel charged the same attorney fee
for these two options.
9. Debtor and counsel entered into two, separate fee agreements for pre- and post-petition work.
a. Debtor(s) signed a pre-filing agreement for the minimum work required under the Bankruptcy Code and Rules to commence the
              case. The pre-filing agreement advised the debtor(s) that if Counsel had performed this work hourly, it would have a value
              of $1,380.00. Any amount paid by debtor(s) prior to the petition being filed was credited: 1) first to the filing fee, 2) second
              to the value of the pre-filing work and 3) third to a prepayment of the anticipated fee for Counsel's post-filing work. Any
              amount that debtor(s) paid prior to the petition being filed is listed above in Section 1 as "Prior to the filing of this
              statement I have received." Any portion of the value of Counsel's pre-filing work not paid by debtor(s) as described above
              has been waived by Counsel.
b. Debtor(s) signed a post-filing agreement after the petition was filed for the remaining work needed to represent debtor(s) to a
              successful conclusion of their chapter 7 case. Any portion of Counsel's fees not waived or paid by debtor(s) prior to the
              filing are reflected in Section 1 above as the "Balance Due." The second fee agreement allows the debtor(s) to pay this
              Balance Due in installments over 10 months following the bankruptcy filing.
10. Counsel has fully informed debtor(s) and obtained their informed consent to the bifurcation of services.




         Case 2:24-bk-03626-EPB                 Doc 11 Filed 05/21/24 Entered 05/21/24 16:06:52                                  Desc
                                                Main Document    Page 48 of 49
In re                                                                                   Case No.
                                            Debtor(s)

                  DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
                                    (Continuation Sheet)


                                                          CERTIFICATION
    I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the
debtor(s) in this bankruptcy proceeding.

   May 21, 2024                                                  /s/ Jacob R Goodman
   Date                                                          Jacob R Goodman
                                                                 Signature of Attorney
                                                                 Rock Law Firm
                                                                 1222 E Baseline Road
                                                                 Suite 102
                                                                 Tempe, AZ 85283

                                                                 Name of law firm




        Case 2:24-bk-03626-EPB              Doc 11 Filed 05/21/24 Entered 05/21/24 16:06:52                            Desc
                                            Main Document    Page 49 of 49
